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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                              BROWNSVILLE DIVISION

STATE OF TEXAS, et al.,                              §
      Plaintiffs,                                    §
                                                     §
v.                                                   §     CIVIL ACTION NO. 1:14-CV-254
                                                     §
UNITED STATES OF AMERICA, et al.,                    §
      Defendants.                                    §
_______________________________________              §

                                             ORDER
       Before the Court is Jane Does’ Motion to Reconsider or Amend Order Denying as Moot

Motion for Leave to Proceed under Pseudonyms. [Doc. No. 161]. On February 11, 2015, this

Court denied Jane Does’ Motion to Intervene, [Doc. No. 91], and, instead, reviewed the Motion

as if it was an amicus curiae brief. [Doc. No. 141]. The Court subsequently denied as moot in

its February 19, 2015 Order, [Doc. No. 146], Jane Does’ Motion for Leave to Proceed Under

Pseudonyms to file their Motion for Intervention, [Doc. No. 92 (“In order for the Doe Intervenors

to be able to safely make the Motion for Intervention and to file the Supplemental Brief, the Doe

Intervenors request leave to proceed under pseudonyms for their protection.”)].

       In the Motion presently before the Court, Jane Does request that they be granted leave to

proceed under pseudonyms in past and future amici filings in this matter. The Court hereby

grants leave for Jane Does to participate as amici curiae under pseudonyms in their past filings

and in any future filings they may make in this matter.

       Signed this 2nd day of March, 2015.


                                                           ______________________________
                                                           Andrew S. Hanen
                                                           United States District Judge
